Case 3:20-cr-00090-CAB Document 21 Filed 02/11/20 PagelD.37 Page 1of5

 

 

 

 

 

 

 

 

 

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8 UNITED STATES DISTRICT COURT
9 SOUTHERN DISTRICT OF CALIFORNIA

‘O lUNITED STATES OF AMERICA, ) Case No.: 20CRO090-CAB.

~ Plaintiff, } FINDINGS AND RECOMMENDATION
12 ) OF THE. MAGISTRATE JUDGE

13 [1% | ) UPON A PLEA OF GUILTY

14 Russell Jay Sedgwick , | | |

“45 Defendant. }

16 © | |

17 Upon Defendant’s request to enter a guilty plea to
18 |}Count 1 of the Information pursuant to Rule 11 of the
19 ||Federal Rules of Criminal Procedure, this matter was

20 ||referred to the Magistrate Judge by the District Judge,
21 ||with the written consents of the Defendant, counsel for
22 the Defendant, and counsel for the United. States.

23 ‘Thereafter, the matter came on for a hearing on

24 ||Defendant’s guilty plea, in full compliance with Rule
25 |/11, Federal Rules of Criminal Procedure, before the

26 ||Magistrate Judge, in open court and on the record. ~~~
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Case 3:20-cr-00090-CAB Document 21 Filed 02/11/20 PagelD.38 Page 2 of 5

 

 

 

 

 

1 In consideration of that hearing and the allocution
2 |Imade by the Defendant under oath on the record and in
3 ||the presence of counsel, and the remarks .of the
4 ||Assistant United States Attorney,
5 I make the following FINDINGS - that the Defendant
6 |lunderstands: |
? 1. The government’s right, in a prosecution for
perjury or false statement, to use against the
10 defendant any statement that the defendant
11 gives under oath; |
12 2. The right to persist ina plea of “not guilty’;
43 3. The right to a speedy and public trial;
14 4, The right to trial by jury, or the ability to
. waive that right and have a judge try the case
UW without a jury;
18 5. The right to be represented by counsel-and if
19 necessary. to have the court appoint counsel-at
20 trial and at every other stage of the
21 “proceeding;
22 | |
2 6. The right at trial to confront and cross-
24 examine adverse witnesses, to be protected from] .
25 compelled self-incrimination, to testify and
26 - - present evidence, and to compel the attendance | ~~
27 of witnesses;
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Case 3:20-cr-00090-CAB Document 21 Filed 02/11/20 PagelD.39 Page 3 of5

 

 

 

 

1 7. The defendant’s waiver of these trial rights if
2 the court accepts a guilty plea or nolo
; contendere;
8. The nature of each charge to which the
5 defendant is pleading; |
4 | 9. Any maximum possible penalty, including
8 imprisonment, fine, and term of supervised
9 release; |
10 10. -Any applicable mandatory minimum penalty;
. 11.. Any applicable Forfeiture;
13 12. The court’s authority to order restitution [if
“44 applicable];
15 13. The court’s obligation to impose a special
16 assessment;
1" 14.. In determining a sentence, the court's
. obligation to calculate the applicable
50 sentencing guideline range and to consider that}
21 range, possible departures under the Sentencing _
22 Guidelines, and other sentencing factors under
23 18 U.S.C § 3553(a);
24 15. Any provision in the plea agreement whereby
|. | .defendant.waives_the right_to appeal or to... |...
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Case 3:20-cr-00090-CAB Document 21 Filed 02/11/20 PagelD.40 Page 4of5

 

 

1 collaterally attack the conviction and

2 sentence; and |

3 16. That, if convicted, a defendant who is not a
United States citizen may be removed from the

6 United States, denied citizenship, and denied
7 admission to the United States in the future.

8 | further find that:

9 17. The defendant is competent to enter a plea;

. 18. The defendant's guilty plea is made knowingly
1D and voluntarily, and did not result from force,
13. threats or promises (other than those made in a
14 plea agreement); and |

15 19. There isa factual basis for Defendant's plea.
16 I therefore RECOMMEND that the District Judge

. accept the Defendant’s guilty plea to 1 of the

19 Information. | |

20 The sentencing hearing will be before United States
21 ||District Judge Cathy Ann Bencivengo, on 5/1/2020 at 9
22 lam. The court excludes time from 2/11/2020 through

*° 15/1/2020 pursuant to 18 USC § 3161(h) (1)(G) on the

. ground that the District Judge will be considering the
- ttor oposed -plea-agre ement ton orn a Be nn he
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Case 3:20-cr-00090-CAB Document 21 Filed 02/11/20 PagelD.41 Page 5of5

Objections ‘to these Findings and Recommendations |
are waived by the parties 1£ not made within 14 days of
this order. If the parties waive the preparation of the
Presentence Report, objections are due within three :

|}days of this order.

Dated: 2/11/2020

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Hon. Kayen S. Crawford
United States Magistrate
Judge

Copies to:

Judge Cathy Ann Bencivengo
Assistant United States Attorney
Counsel for Defendant ©

 

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